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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

UNITED STATES OF AMERICA, CASE NUMBER:
2:21-cr-00491-SB
PLAINTIFF(S)
Vv.
JEFFREY FORTENBERRY, NOTICE OF MANUAL FILING
OR LODGING

DEFENDANT(S).

PLEASE TAKE NOTICE:

Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually Filed [] Lodged: (List Documents)

1. Fortenberry's Unopposed Ex Parte Application to File Joint Motion In Limine ("JMIL") No. 6-Related
Documents Under Seal and Proposed Order Thereon.

2. Fortenberry's Under Seal Filing (transmitted by emailed hyperlink on Mar. 2, 2022), of Disputed Items
Supplementing JMIL No. 6, including the government's Feb. 15, 2022, exhibit list, an overview table, disputed
text-message and email evidence with objections, and the government's position on Fortenberry's objections.

Reason:

Under Seal

LC] In Camera

Cc] Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
C] Per Court order dated:

C] Other:

Match 3, 2022 Ryan V. Fraser

 

Date Attorney Name
Hon. Jeffrey Lane Fortenberry

 

Party Represented

Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).

 

G-92 (05/15) NOTICE OF MANUAL FILING OR LODGING
